Case 2:18-mj-00137-CWH Document 3 Filed 02/06/18 Page 1 of 1

l AO 442 (Rev. ll/ll) Arrest Warrant

 

 
 

4 ~ m
UNITED STATES DISTRICT CoURT

   
 

 

 
   

 

 

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Disfri<>f OfNevada u.a. ru».i;;i§tl§a'ri JUDEE.
United States of America 3`\"._...=--=---='”"””°
v. )
DOUGLAS HA|G ) Case No
) ' -m- -137- CWH
) `~H:H_ED rrrrrr ~:~
) `ENTERED "
) COUNS£L}E,
Defendant
ARREST W T f
)
7 l
To: Any authorized law enforcement officer CLERK US DISTR;Cl,~ , CO}H l
YOU ARE COMMANDED to arrest and bring before a United SM without unhecessaliy delay

(name of person to be arrested) DOUGLAS |-|A|G ,
who is accused of an offense or violation based on the following document filed with the court2

 

I:| Indictment ij Superseding Indictment [:l Information ij .Superseding Information MComplaint
El Probation Violation Petition EI Supervised Release Violation Petition [Il Violation Notice |:| Order of the Court

This offense is briefly described as follows:

18 U.S.C. §371 - Conspiracy;
18 U.S.C. §§922(a)(7), ‘(a)(8) and 924(a)(1)(D) - |V|anufacture of Armor Piercing Ammunition

Date: 5 > l

 

 

 

 

 

 

City and state: Las Vegas, Nevada C. H FMAN. JR.
uNlTED STKTE§’MK€GT§?§¢ATE Jur)c '
Return
This warrant was received on (daze) 2 i ii 19 , and the person was arrested on (daze) 2i ll 15

at (city and state) MGS k , AZ

Date: l`~a.`§% M,g

 

Arresting ojz`cer ’s signature

F@J>

P)'inted name and title

 

 

 

